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                                                             TRANSCRIPT PURCHASE ORDER
                                                                  for Third Circuit Court of Appeals

          District Court      District of New Jersey                                         Court of Appeals Docket No.        25-1577
                                                                                             District Court Docket No.          1:24-cv-04389-HB
  Short Case Title Atlas Data Privacy Corp, et al. v. Joy Rockwell Enterprises Inc., et al.

  Date Notice of Appeal Filed by Clerk of District Court March 31, 2025

Part I.         (To be completed by party responsible for ordering transcript)                          NOTE: A SEPARATE FORM IS TO BE TYPED FOR
A.        Check one of the following and serve ALL COPIES:                                              EACH COURT REPORTER IN THIS CASE.

          TRANSCRIPT:
                      None                                          Unnecessary for appeal purposes.
          x           Already on file in the District Court Clerk’s office.
                     This is to order a transcript of the proceedings heard on the date listed below from                                       (Court Reporter)
          (Specify on lines below exact date of proceedings to be transcribed). If requesting only partial transcript of the proceedings, specify exactly what
          portion or what witness testimony is desired.




          If proceeding to be transcribed was a trial, also check any appropriate box below for special requests; otherwise, this material will NOT be
          included in the trial transcripts.

                      Voir dire                                                 Open Statement of Plaintiff                       Opening Statement of Defendant
                      Closing Argument of Plaintiff                             Closing Argument of Defendant
                      Jury Instructions                                         Sentencing Hearings

          FAILURE TO SPECIFY IN ADEQUATE DETAIL THOSE PROCEEDINGS TO BE TRANSCRIBED OR FAILURE TO
          MAKE PROMPT SATISFACTORY FINANCIAL ARRANGEMENTS FOR TRANSCRIPT ARE GROUNDS FOR
          DISMISSAL OF THE APPEAL OR IMPOSITION OF SANCTIONS
B.        This is to certify that satisfactory financial arrangements have been completed with the court reporter for payment of the cost of the transcript.
          The method of payment will be:

                      CJA Form submitted to District Court Judge                                 Motion for Transcript has been submitted to District Court
                      CJA Form submitted to Court of Appeals                                     Private Funds


Signature         /s/ Kelly M. Purcaro                                                    Date              April 8, 2025
Print Name        Kelly M. Purcaro. Esq.                                                  Counsel for       Appellant Joy Rockwell Enterprises, Inc.

Address
                  One Riverfront Plaza 1037 Raymond Blvd, Suite 900, Newark, NJ 07102
                                                                                          Telephone         (732) 456-8734 or 8746
Part II. COURT REPORTER ACKNOWLEDGEMENT (To be completed by the Court Reporter and forwarded to the Court of
                Appeals on the same day transcript order is received.)
              Date transcript order          Estimated completion date; if not within 30 days of date financial arrangements          Estimated number
                    received                          made, motion for extension to be made to Court of Appeals                            of pages



                                                            Arrangements for payment were made on

                                                            Arrangements for payment have not been made pursuant to FRAP 10(b)


                                Date                                           Name of Court Report                                       Telephone

Part III. NOTIFICATION THAT TRANSCRIPT HAS BEEN FILED IN THE DISTRICT COURT (To be completed by court reporter
                on date of filing transcript in District. Court Notification must be forwarded to the Court of Appeals on the same date.)
                      Actual Number of Pages                                              Actual Number of Volumes


                                Date                                                                             Signature of Court Reporter
